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Attorneys for the Plaintiff


                     IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF ALASKA

  UNITED STATES OF AMERICA,                   ) No. 3:10-cr-00086-TMB
                                              )
                         Plaintiff,           )
                                              )
         vs.                                  )
                                              )
  JESUS ALBERTO AYALACORIA,                   )
                                              )
                         Defendant.           )
                                              )

     SUPPLEMENT TO RESPONSE IN OPPOSITION TO “MOTION FOR
    COMPASSIONATE RELEASE PURSUANT TO 18 U.S.C. § 3582(C)(1)(A)”

       In its response opposing the defendant’s motion for compassionate release, ECF No.

130, the government asserted that the defendant had not requested compassionate release

through the Bureau of Prisons. That claim was incorrect: BOP has since informed the

government that the defendant did submit a request for compassionate release to BOP on

May 18, 2020. The warden has not issued a response. The defendant has therefore not yet



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“fully exhausted all administrative rights to appeal a failure of the Bureau of Prisons to

bring a motion” requesting compassionate release on his behalf: he must either do so, or

wait until 30 days has passed from his first request, before bringing this matter to court. 18

U.S.C. § 3582(c)(1)(A). United States v. Alam, --- F.3d ---, 2020 WL 2845694 (6th Cir.

June 2, 2020). Accordingly, the Court still lacks jurisdiction to hear his claim at the present

time. Moreover, denial of the request remains appropriate for the reasons set forth in the

original response.

        RESPECTFULLY SUBMITTED this 8th day of June, 2020, in Anchorage,

Alaska.

                                              BRYAN SCHRODER
                                              United States Attorney

                                              s/ Stephen Corso
                                              STEPHEN CORSO
                                              Assistant U.S. Attorney




CERTIFICATE OF SERVICE

I hereby certify that on June 5, 2020 a
true and correct copy of the foregoing was
served electronically on the following:

Daniel Poulson

s/ Stephen Corso
Office of the U.S. Attorney




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